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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


SBI CRYPTO CO., LTD.,                           §
                                                §
          Plaintiff,                            §
                                                §
v.                                              §       CASE NO. 6:23-CV-00252-ADA-DTG
                                                §
WHINSTONE US, INC.,                             §
                                                §
         Defendant,                             §

                       ORDER ON MAY 2, 2025 DISCOVERY DISPUTES

       Before the Court is the parties’ discovery dispute chart submitted on April 28, 2025. The

Court held a hearing on May 2, 2025 and determined that Plaintiff has waived any claim of

privilege that it may have had as to Deposition Exhibit Nos. 5, 18, & 19. The Court further found

that Plaintiff’s privilege claim as it relates to Deposition Exhibit No. 36 has not been waived.

Accordingly, the Court ORDERS as follows:

       It is therefore ORDERED that Plaintiff shall produce a copy of Deposition Exhibit Nos.

5, 18, & 19 to Defendant within seven (7) days of this order.

       It is further ORDERED that Defendant’s request for a supplemental Rule 30(b)(6)

deposition is DENIED.

       It is further ORDERED that Defendant shall have until 5:00 p.m. on May 9, 2025 to file

its motion to compel, should Defendant wish to pursue its argument as to subject matter waiver.

       It is also ORDERED that the parties are to meet and confer on existing deadlines and

submit their proposed schedules to the Court by 5:00 p.m. on May 9, 2025.

       It is finally ORDERED that all relief not expressly granted is DENIED.
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  SIGNED this 2nd day of May, 2025.




                                      DEREK T. GILLILAND
                                      UNITED STATES MAGISTRATE JUDGE




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